          Case 1:20-cv-00947-RP Document 29 Filed 02/23/21 Page 1 of 3




                            UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS


 BARCLAYS TRUST,
                                                     Case No. 20-cv-947
                          Plaintiff,

                v.                                   District Judge Robert Pitman
 NATIN PAUL; WORLD CLASS HOLDING
 COMPANY, LLC; and WORLD CLASS
 MANAGEMENT COMPANY, LLC,

                          Defendants.



                          AGREED SCHEDULING ORDER

       Pursuant to Federal Rule of Civil Procedure 16, the following Agreed Scheduling Order

is issued by the Court:

1.     A report on alternative dispute resolution in compliance with Local Rule CV-88 shall be

       filed on or before October 30, 2020.

2.     The parties asserting claims for relief shall submit a written offer of settlement to

       opposing parties on or before October 28, 2020, and each opposing party shall respond,

       in writing, on or before October 30, 2020. All offers of settlement are to be private, not

       filed. The parties are ordered to retain the written offers of settlement and responses so

       the Court may use them in assessing attorney’s fees and costs at the conclusion of the

       trial.

3.     Each party shall complete and file the attached “Notice Concerning Reference to United

       States Magistrate Judge” on or before October 30, 2020.

4.     The parties shall file all motions to amend or supplement pleadings or to join additional

       parties on or before November 2, 2020.

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          Case 1:20-cv-00947-RP Document 29 Filed 02/23/21 Page 2 of 3




5.     The Parties do not expect to retain expert witnesses to resolve this matter. The Parties

       will timely update the Court if expert witnesses become necessary to litigate this matter.

6.     The Parties shall complete all discovery on or before November 2, 2020.1

7.     All dispositive motions shall be filed on or before November 4, 2020 and shall be limited

       to 20 pages. Responses shall be filed and served on all other parties not later than 14 days

       after the service of the motion and shall be limited to 20 pages. Any replies shall be filed

       and served on all other parties not later than 7 days after the service of the response and

       shall be limited to 10 pages, but the Court need not wait for the reply before ruling on the

       motion.

8.     The Court will set this case for final pretrial conference at a later time. The final pretrial

       conference shall be attended by at least one of the attorneys who will conduct the trial for

       each of the parties and by any unrepresented parties. The parties should consult Local

       Rule CV-16(e) regarding matters to be filed in advance of the final pretrial conference.




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 The Parties have agreed to stay all discovery as the material facts of this breach of contract action
are not in dispute. If, following the filing of a Motion for Summary Judgment, a Party believes
discovery is warranted, that Party may file a Motion under Federal Rule of Civil Procedure 56(d)
seeking to defer consideration of the Motion to allow for discovery.
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        Case 1:20-cv-00947-RP Document 29 Filed 02/23/21 Page 3 of 3




9.   This case is set for to be set at a later date
                                                 trial commencing at 9:00 a.m. on

                                                                         , 2020.

     By filing an agreed motion, the parties may request that this Court extend any deadline

     set in this Order, with the exception of the dispositive motions deadline and the trial date.

     The Court may impose sanctions under Federal Rule of Civil Procedure 16(f) if the

     parties do not make timely submissions under this Order.


     SIGNED on                    February 23                       , 2020



                                            ROBERT PITMAN
                                            UNITED STATES DISTRICT JUDGE




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